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IN THE UNITED sTATEs D:sTRIcT cOURT Fli£o BY_n D_C.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 95 AU[; |9 pH 3. 35
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vARsITY BRANDS, INc., ET AL., CLEHK.U.SU?`§?§TR’G{Q?LD
‘M:» :') §§.F:ifw .
Plaintiffs, § “HH§
vs. NO. 05-2340-Map

TEAMLEADER.COM, ET AL.,

Defendants.

 

ORDER OF DISMISSAL

 

The plaintiff has filed a notice of dismissal in this
matter, the parties having reached a settlement. For good cause
shown, this matter is DISMISSED With prejudice.

:t is 50 0RDERED this / ?)Zaay Of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02340 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

